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IN THE UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW JERSEY

 

SHANNON PHILLIPS ; CIVIL ACTION NO.
Woolwich Township, NJ 08085 :
Plaintiff,
v. : JURY TRIAL DEMANDED

STARBUCKS CORPORATION d/b/a/
STARBUCKS COFFEE COMPANY
2401 Utah Avenue Suite 800

Seattle, WA 98134

Defendant.

 

AMENDED COMPLAINT

I. INTRODUCTION

Plaintiff, Shannon Phillips, (“Plaintiff”), an approximately thirteen year employee, was a loyal,
dedicated and high performing Regional Director for Defendant Starbucks Corporation d/b/a
Starbucks Coffee Company (“Defendant”) tasked with overseeing operations of Defendant’s retail
operations in Southern New Jersey, the Philadelphia region, Delaware and parts of Maryland.
Following an arrest of two black men in a store within her region in April, 2018, Plaintiff worked
tirelessly on behalf of Defendant to repair community relations while ensuring employee and
customer safety. Weeks after the arrests and surrounding media coverage, Defendant took steps to
punish white employees who had not been involved in the arrests, but who worked in and around
the city of Philadelphia, in an effort to convince the community that it had properly responded to
the incident. As part of Defendant’s efforts, Plaintiff was ordered to place a white employee (who

had not had any involvement in the arrests) on administrative leave because of an allegation of
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discriminatory conduct that Plaintiff knew to be false. Plaintiff provided information to Defendant
that proved that the details of the allegation were factually impossible amid Defendant’s practices.
Defendant ignored the information provided by Plaintiff. At the same time, Defendant did not take
any steps to punish a black district manager who had been responsible for the management of the
location where the arrests took place. Plaintiff was notified of her termination less than one month
after the arrests on May 9, 2018. Plaintiff now brings claims pursuant to Title VII of the Civil
Rights Act of 1964, as amended, 42. U.S.C. §2000¢, et. seq. (“Title VII’), the Civil Rights Act of
1866, as amended, 42 U.S.C. §1981 (“Section 1981”), and the New Jersey Law Against

Discrimination, as amended, N.J.S.A. § 10:501, et seq.

II. PARTIES

1. Plaintiff, Shannon Phillips, is an individual and citizen of New Jersey.

2. Plaintiff is Caucasian/white.

3. Defendant Starbucks Corporation d/b/a Starbucks Coffee Company is organized under the
laws of Washington with its headquarters located at 2401 Utah Avenue, South, Seattle,
Washington, 98134,

4. At all material times, Defendant maintained locations throughout the State of New Jersey,
including without limitation, in Haddonfield and other locations in Camden, County, New Jersey.
5. At all times material hereto, Plaintiff worked out of her home office in Woolwich, New
Jersey and traveled to Defendants’ locations in New Jersey, Delaware, Maryland and
Pennsylvania.

6. Defendant is engaged in an industry affecting interstate commerce and regularly does

business in the State of New Jersey.
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7. At all times material hereto, Plaintiff worked for Defendant from her home in Woolwich,
New Jersey and throughout the region assigned to her.

8. At all times material hereto, Defendant employed more than fifteen (15) employees.

9, Atall times material hereto, Defendant acted by and through its authorized agents, servants,
workmen, and/or employees acting within the course and scope of their employment with
Defendant and in furtherance of Defendant’s business,

10. ‘At all times material hereto, Defendant acted as an employer within the meaning of the
statutes which form the basis of this matter.

11. At all times material hereto, Plaintiff was an employee of Defendant within the meaning
of the statutes that form the basis of this matter.

Il. JURISDICTION AND VENUE

12. | The causes of action which form the basis of this matter arise under Title VII, Section 1981,
and the NJLAD.

13. The District Court has jurisdiction over Count I (Title VIJ) pursuant to 42 U.S.C. §2000e-
5 and 28 U.S.C. §1331.

14. The District Court has jurisdiction over Count II (Section 1981) pursuant to U.S.C. §1331.
15. The District Court has jurisdiction over Counts III (NJLAD) pursuant to 28 U.S.C. §1332
since the amount in controversy exceeds the sum or value of seventy-five thousand dollars
($75,000), exclusive of costs and interest and as there is complete diversity of citizenship as
Plaintiff is a citizen of New Jersey and Defendant is a citizen of Washington.

16. | Venue is proper in this District Court under 28 U.S.C. §1391 (b) and 42 U.S.C. §2000e-

5(f).
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17. On or about May 22, 2018, Plaintiff filed a Charge of Discrimination (“Charge”) with the
Equal Employment Opportunity Commission (“EEOC”) complaining of acts of discrimination
alleged herein. Attached hereto, incorporated herein and marked as Exhibit “1” is a true and correct
copy of the EEOC Charge of discrimination (with personal identifying information redacted).

18. Onor about July 30, 2019, the EEOC issued the Plaintiff a Notice of Right to Sue for her
Charge of Discrimination. Attached hereto and marked as Exhibit “2” is a true and correct copy of
the Notice (with personal identifying information redacted).

19. Plaintiffhas fully complied with all administrative prerequisites for the commencement of

this action.
IV. FACTUAL ALLEGATIONS

20. —_‘ Plaintiff was hired by Defendant in or about December, 2005 as a District Manager based
out of Youngstown, Ohio.

21. Amid her exemplary performance, Plaintiff was promoted in or about 2011 to Regional
Director of Operations for a region encompassing Philadelphia and some Pennsylvania suburbs,
Southern New Jersey, Delaware and parts of Maryland. This region was known to Defendant as
“Area 71.” In total, Plaintiff oversaw operations for approximately one hundred (100) retail stores.
22. Plaintiff relocated to New Jersey for the Regional Director of Operations (“RD”) position,
23. At all times material hereto, Plaintiff was based out of her home office in Woolwich, New
Jersey.

24. Plaintiff spent more than 51% of her time working for Defendant in New Jersey, with the

remaining time divided among Delaware, Maryland and Pennsylvania.
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25. Plaintiff's schedule/routine was such that she worked from her home office on Mondays
and Fridays and visited her direct reports in their stores in southern New Jersey, Delaware,
Maryland and Pennsylvania on Tuesdays, Wednesdays and Thursdays.

26. On several occasions each month, Plaintiff hosted trainings, round-table discussions or
team meetings at Defendant’s Haddonfield, New Jersey location as it was the only location in
Plaintiff's region that had meeting space/a training room.

27. | AsRD, Plaintiff managed District Managers reporting to her and their portfolio stores. In
addition, and without limitation, she was tasked with touring with real estate partners and brokers
to find new locations for stores; developing new stores, partnering with other departments to
coordinate resources such as vendors, assessing/determining financial impact of new stores on
existing stores, managing special events (such as the Pope’s visit to Philadelphia) and coordinating
community engagement efforts on behalf of Defendant.

28. ‘Plaintiff initially reported to Joe Hallinan, Regional Vice President. Upon Hallinan’s
retirement, Plaintiff reported to Victor Huetz (“Huetz”), Regional Vice President,

29. Beginning in or about 2015, Plaintiff reported to Camille Hymes (“Hymes”) (black), Vice
President, Operations.

30.  Atall material times, Plaintiff received positive performance evaluations and related merit
driven bonuses and salary increases.

31. | Approximately nine (9) District Managers (“DM”) reported to Plaintiff. Each DM had
responsibility for between ten and fourteen stores each and managed the Store Managers (“SM”)
assigned to each retail location.

32. | Two DMs were assigned stores in Philadelphia and reported to Plaintiff: Ben Trinsey

(“Trinsey”) (white) and Paul Sykes (“Sykes”) (black).
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33.  Sykes’s stores included a retail location at 18" and Spruce Street in Philadelphia, PA.

34. On or about April 12, 2018, two Black men were arrested at the 18" and Spruce Street
location.

35. Plaintiff was not involved in the arrests in any way.

36. | Upon learning of the arrest from Sykes, Plaintiff promptly notified Hymes from her New
Jersey office.

37. Plaintiff immediately took steps to learn additional information about the events leading
up to the events and to address strong community reaction following the events.

38. At the same time, amid substantial public sentiment against Defendant, Plaintiff actively
sought to ensure the safety of Defendant’s employees and customers.

39. | Onor about April 14, 2018, Plaintiff went to the 18" and Spruce Street store with Hymes.
Plaintiff worked with Sykes and the other Philadelphia area DM, Trinsey, to formulate a plan of
support for Defendant, its stores and customers across the city of Philadelphia and to address the
community’s concerns about the arrests, For example, and without limitation:

a. Plaintiff brought all her DMs into the city with some of their SMs to offer additional
support to Defendant’s stores and customers;

b. Plaintiff organized teams of management-level employees to work at the
approximately twenty Center City Philadelphia locations as hourly workers were
afraid to come to work amid community protests at Defendant’s retail locations;

c. Plaintiff worked closely with her supervisors to understand what had happened at
the 18" and Spruce Location in an effort to determine appropriate next steps; and,

d. Plaintiff organized multiple round-table events for Defendant’s company-founder

and Chairman Emeritus, Howard Schultz, in Philadelphia so that Defendant could
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properly understand the issues surrounding the arrests and adequately address the

public’s reaction.
40. By April 14, 2018, amid the arrests making local and national news, protests from the
public took place outside and inside of the 18th and Spruce Street store.
41. Atal! material times, Plaintiff actively worked with her subordinates and her superiors to
coordinate Defendant’s efforts at “crisis management” and ensure the safety of Defendant’s
employees and customers at all of Defendant’s stores within the City of Philadelphia.
42. Plaintiff also took steps to ensure that the retail locations within her area were a safe and
welcoming environment for all customers, regardless of race.
43, On April 23, 2018, Hymes encouraged Plaintiff to apply for a Temporary Limited
Assignment position that was being created in Philadelphia to support Defendant’s Government
and Community Affairs unit.
44. Plaintiff was well qualified for the position and she was interviewed. Substantial portions
of the interview took place in New Jersey.
45. Following her interview, she was told on or about April 26, 2018 that the position was
being put “on hold.”
46. Onor about May 2, 2018, Defendant reached a settlement with the two men who had been
arrested. According to Defendant’s website, “[t]he agreement between the parties stemming from
the events in Philadelphia on April 12 will include a financial settlement as well as continued
listening and dialogue between the parties and the specific action and opportunity.”
47. Defendant further stated, “And Starbucks will continue to take actions that stem from this

incident to repair and reaffirm our values and vision for the kind of company that we want to be.”
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48. Onor about May 4, 2018, Hymes told Plaintiff to take the weekend off. Hymes further told
Plaintiff that she wanted to speak to employees without Plaintiff being present.

49. On or about May 7, 2018, Plaintiff was called to a meeting with Hymes, Nathalie Cioffi
(“Cioffi”) (white), Partner Resources Director and Paul Pinto (“Pinto”) (white), Vice President,
Partner Resources.

50. __ Plaintiff was ordered to set up a meeting with Trinsey the following morning and place
him on suspension.

51. Trinsey was not involved in the April 12" arrests nor did he have any responsibility for the
18'" and Spruce Street store.

52.  Trinsey did not have any performance issues.

53. | Defendant told Plaintiff there would be an investigation into Trinsey’s conduct, including
allegations of race discrimination that had been made against him.

54. Plaintiff objected to Defendant’s treatment of Trinsey and stated that Trinsey is not racist
and that she had never observed any race discriminatory comments or conduct by Trinsey.

55. Plaintiff further explained that Trinsey was a fifteen (15) year employee of Defendant and
that he volunteered every week with YouthBuild Philadelphia, an organization primarily servicing
young, African American/black individuals.

56. Plaintiff believed that Trinsey was being falsely accused of racial bias because he was
white and because Defendant was attempting to quell community response to actions taken by
Defendant in which Trinsey had no involvement.

27. In response, Hymes stated that non-white, salaried managers at Trinsey’s stores had made

claims that they were paid less than white employees.
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58. Plaintiff continued to object to Defendant’s treatment of Trinsey and explained to Hymes
that Trinsey could not, by Defendant’s policies and procedures, determine salaried employee
compensation. In fact, Plaintiff told Hymes, Trinsey could not have any input on employee
salaries.

59. Plaintiff further stated that Defendant’s required process is to send employee resumes upon
hire to Partner Resources. Upon receipt of the resume, Partner Resources, and not any DM, sets
employee salaries.

60. Despite the information that Plaintiff provided to Hymes and Pinto indicating that the race-
based allegations against him were factually impossible, Plaintiff was ordered to put Trinsey on
suspension.

61. In contrast, Defendants did not take any action against Sykes, who is African
American/black and was the DM responsible for the store where the men had been arrested. Sykes’
subordinate, who he had promoted to the SM position, was responsible for making the call to
police that lead to the arrests and the subsequent community reaction.

62. On that same day, from her New Jersey office, Plaintiff telephoned Ebony Johnson
(“Johnson”) (black), Partner Resource Manager, and complained that Trinsey was being treated
unfairly because of his race.

63. Johnson told Plaintiff “trust the process” and further instructed Plaintiff to put Trinsey on
suspension,

64. On May 8, 2019, Plaintiff was told by Hymes that she should come to a meeting the
following day ready to negotiate her separation package as she was being terminated.

65. | The only reason given for her pending termination was “the situation is not recoverable.”
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66. When Plaintifftold Hymes, upon learning of her pending termination, that her performance
had been exceptional and that she had last received a bonus only the month prior, Hymes agreed.
67. On May 9, 2019, Hymes and Pinto formally notified Plaintiff of her termination, effective
immediately.

68. Defendant did not articulate any stated reason other than “the situation is not recoverable.”
69. | Defendant’s stated reason is pre-text for race discrimination.

70. ‘Plaintiff was replaced by substantially less qualified employees who had not complained
of race discrimination by Defendant and had not been working in the region at the time of the
arrests.

71. Plaintiff's race was a motivating and/or determinative factor in Defendant’s discriminatory
treatment of Plaintiff, including without limitation, in connection with her termination.

72. Plaintiff's complaints of race discrimination were a motivating and/or determinative factor
in Defendant’s discriminatory and retaliatory treatment of Plaintiff, including without limitation,
in terminating her.

73. | Asadirect and proximate result of the discriminatory and retaliatory conduct of Defendant,
Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or earning
capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem,
mental anguish, and loss of life’s pleasures.

74. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of Defendant’s discriminatory acts unless and until this Court grants the relief
requested herein.

75. Defendant acted with malice and/or reckless indifference to Plaintiff’s protected rights.

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76. The conduct of Defendant, as set forth above, was outrageous and warrants the imposition

of punitive damages against Defendant.

COUNT I- TITLE VII

77. Plaintiff incorporates by reference paragraphs | through 76 above, as if set forth herein in
their entirety.

78. By committing the foregoing acts of discrimination and retaliation against Plaintiff,
Defendant has violated Title VII.

79. Said violations were done with malice and/or reckless indifference to Plaintiff's protected
rights, and warrant the imposition of punitive damages.

80. As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff has suffered
the damages and losses set forth herein and has incurred attorneys’ fees and costs.

81. Plaintiff suffered irreparable injury and monetary damages as a result of Defendant’s
discriminatory acts unless and until this Court grants the relief requested herein.

82. No previous application has been made for the relief requested herein,

COUNT II — SECTION 1981

83. Plaintiff incorporates by reference paragraphs | through 82 above, as if set forth herein in
their entirety.

84. By committing the foregoing acts of discrimination against Plaintiff, Defendant has
violated Section 1981.

85. Said violations were done with malice and/or reckless indifference to Plaintiff's protected
rights, and warrant the imposition of punitive damages.

86. Asa direct and proximate result of Defendant’s violation of Section 1981, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.

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87. Plaintiff suffered irreparable injury and monetary damages as a result of Defendant’s
discriminatory acts unless and until this Court grants the relief requested herein.

88. No previous application has been made for the relief requested herein.

COUNT Ill - NJLAD

89. Plaintiff incorporates herein by reference paragraphs 1 to 88 above, as if set forth herein in
their entirety.

90. Defendant, by the above-described discriminatory and retaliatory acts, has violated the
NJLAD.

91. Defendant’s conduct as set forth herein was especially egregious.

92. | Members of Defendant’s upper management had actual participation in, or willful
indifference to, Defendant’s wrongful conduct described herein, and their conduct warrants the
imposition of punitive damages against Defendant.

93. As a direct and proximate result of Defendant’s discriminatory and retaliatory conduct,
Plaintiff has sustained the injuries, damages, and losses set forth herein, and has incurred attorney’s
fees and costs.

94. _ Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of Defendant’ discriminatory, retaliatory, and unlawful acts unless and until
this Court grants the relief requested herein.

95. | No previous application has been made for the relief requested herein.

RELIEF
WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

Defendant’s improper conduct, and specifically prays that the Court grant the following relief to

Plaintiff by:

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a. Declaring the acts and practices complained of herein to be in violation of Title VII;

b. Declaring the acts and practices complained of herein to be in violation of Section 1981;

c. Declaring the acts and practices complained of herein to be in violation of the NJLAD;

d. Enjoining and permanently restraining the violations alleged herein;

e. Entering judgment against the Defendant and in favor of the Plaintiff in an amount to be
determined;

f. Awarding compensatory damages to make the Plaintiff whole for all lost earnings, earning
capacity, and benefits, which Plaintiff has suffered as a result of Defendant’s improper
conduct;

g. Awarding compensatory damages to Plaintiff for past pain and suffering, emotional upset,
mental anguish, humiliation, and loss of life’s pleasures, which Plaintiff has suffered as a
result of Defendant’s improper conduct;

h. Awarding punitive damages to Plaintiff under Title VII;

i. Awarding punitive damages to Plaintiff under Section 1981;

j. Awarding punitive damages to Plaintiff under the NJLAD;

k. Awarding Plaintiff other such damages as are appropriate under Title VII, Section 1981,
and the NJLAD;

|. Awarding Plaintiff the costs of suit, expert fees and other disbursements, and reasonable
attorneys’ fees; and

m. Granting such other and further relief as this Court may deem just, proper, or equitable
including other equitable and injunctive relief providing restitution for past violations and

preventing future violations.

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Dated: January 22, 2020

CONSOLE MATTIACI LAW OFFICES LLC

BY:

14

Stephen G. Console, Esquire (36656)
Katherine C. Oeltjen, Esquire (318037)
1525 Locust Street, 9" Floor
Philadelphia, PA 19102

(215) 545-7676

Attorneys for Plaintiff Shannon Phillips

 
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CERTIFICATE OF SERVICE

I hereby certify that on this twenty-second day of January 2020, I caused the foregoing to
be served, via ECF, to counsel of record for Defendant below:

Richard R. Harris, Esquire
Marc D, Esterow, Esquire
Littler Mendelson, P.C.
1601 Cherry Street, Suite 1400
Philadelphia, PA 19102

Attorneys for Defendant

CONSOLE MATTIACCI LAW, LLC

By:  /s/ Katherine C. Oeltjen
Katherine C. Oeltjen, Esquire
1525 Locust St., 9" Floor
Philadelphia, PA 19102
(215) 545-7676 (office)

Dated: January 22, 2020 Attorney for Plaintiff
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EXHIBIT |
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: AGENCY CHARGE NUMBER
AMENDED CHARGE OF DISCRIMINATION ARPA
This form is affected by the Privacy Act of 1974; See privacy statement before | X EEOC §30-2018-02412
vonsolidating this form.

 

 

 

STATE OR LOCAL AGENCY: Pennsylvania Hunwun Relations Commission:
‘ ia Commish a :

HOME TELEPHONE NUMBER (Include Area Code)
NAME (Indicate Mr., Ma, Mrs.) eens s
Shauson Phalips. eae eae

‘A ‘BIRTH

CITY, STATE AND ZIP DATE OF !
EO Woolwich Township, NJ 08085 R
BOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP, COMMITTEE,
SCRIMINATED AGAINST ME (If more than one than list below)

 

 

 

    

 

NAMED IS THE EMPLOYER, LA

 

 

 

STATE OF LOCAL GOVERNMENT WHO DI
NAME NUMBER OF EMPLOYEES, MEMBERS TELEPHONE (Include Area Code)
Starbucks Corporation; > 20 (800) 782-7282
Starbucks Coffec Company
NTY
STREET ADDRESS CITY, STATE AND ZIP cou
2401 Utah Avenue S. #800 Seattle, WA 98134 King

 

 

CAUSE OF DISCRIMINATION (Check appropriate box(es) DATE DISCRIMINATION TOOK PLACE

XRace Q Color QSex Q Religion 0 National Origin
X Retaliation QAge Q Disability a Other Specify) Earliest Latest 05/09/2018

 

 

The Particulars Are:
A 1. Relevant Work History

| was hired by Respondents tn or about December 2005. 1 held the position of Regional Director. | reported to Camille
Hymes (black), Regional Vice President, since 2015, Hymes reports to Zeta Smith (black), Divistonal Sentor Vice
President, who reports to Rassann Williams (white), Executive Vice President, President, U.S. Retail, Willams reports to
Rosalind Brewer (black), Chief Operating Officer and Group President, who reports to Kevin Johnson (white), President

and Chief Executive Officer. | worked out of my home office in New Jarsey.
Respondents terminated my employment because of my race and because | had complained of race discrimination.

{ consistently demonstraisd excellent performance and dedication to Respondents, | performed my job duties and
responsibilities In a highly competent manner. | received positive feedback throughout my employment at Respondents.

 

x T want this charge filed with both the EEOC and the State or Incal Agency, { NOTARY - (when necessary for State and Local Requirements)
ifany. Twill advise the sgencies if! change my address or telephone number
and cooperate fully with thom in the processing of ray charge In accordance | [ swear of affirm that I have read the above charge and that it is ue

 

 

 

 

with their procedures to the best of my knowledge information and belief.
I declare under penalty or perjury thal the foregoing is true and correct, ~
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Date: Charging Partly (Signature): SIGNATURE OF COMPLAINANT os ot
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EECC Charge of Discrimination
Page 2 of 4
Initlals of Charging Party -

2. Harm Summary

Respondents discriminated against me because of my race (white) and retaliated against me
beacause of my complaints of race discrimination. Evidence of the discriminatory and retaliatory
conduct to which | have been subjected Includes, but Is not limited to, the following:

{2)

(b)
{c)

(d)
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(9)
(h)
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The following employees, among others, directly reported to me: Paul Sykes (black),
District Manager for 18th and Spruce, Philadelphia; and Benjamin Trinsey (while),
District Manager for East Center City, Philadelphia.

On April 12, 2018, two (2) black men were arrasted at Respondents’ 18th and
Spruce, Philadelphia location.

The April 12, 2018 Incident occurred at one (1) of the stores over which | was
Regional Director. | was not Involved In the April 12, 2048 incident.

On Aprit 12, 2018, Sykes alerted me of the Incident and I alerted Hymes.

On April 14, 2018, protests began outside of Respondents’ 18th and Spruce,
Philadelphia location, as people protested the arrest of the black Individuals.

On April 16, 2018, Respondents terminated Hally Hylton (white), Store Manager for
18th and Spruce, Philadelphia. Hylton had followed Respondents’ Safe and
Walcoming policies in handling the April 12, 2018 Incident.

On April 18, 2018, Respondents announced that it will close 8,000 of ils stores on
May 28, 2018 for racial bias training.

On April 23, 2018, Hymes ancouraged me to apply for a Ternporary Limited
Assignment position that was being created in Philadelphia to support Government
and Cammunilty Affairs.

On April 26, 2048, t Interviewed with Shannon Boldizsar (white), Government and
Community Affairs, Senior Manager, for the Temporary Limited Assignment position.
Following the interview, | was told that Respondents had put the position on hold.

On May 2, 2018, Respondents reached a settlement with the two (2) black men who

were arrested at Respondents’ 18th and Spruce, Philadelphia focation. According to

Respondents’ website, ‘The agreemant between the parties stamming from the

events In Philadelphia on April 12 will Include a financial settlement as well as

continued IlstenIng and dialogue between the parties and specific action and

opportunity.” Respondents’ website also stated the following: “I want to thank Donte

and Rashon [the two (2) black men] for thelr willingness to reconcile,’ sald Kevin

Johnson, ceo Starbucks. ‘I welcome the opportunity to begin a relationship with them

to share learnings and experiences. And Starbucks will continue to take actions that

stem from this Incident to repalr and reaffirm our values and vision for the kind of ms,

company we want to be.” =
Fat:

On May 4, 2018, Hymes called me and told me to take the weekend off, and that shest = e. .

Smith, Willams, and Michael Scott (white), Regional Cperations Coach, were visiting * a fr:

the stores over which | was Regional Director. The stated reason was lo speak wat g

employees at the stores, without me. so
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of

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EEOC Charge of Discrimination
Paga 3 of 4
Initials of Charging Party —

On May 7, 2018, | was ¢ailed into a meeting with Hymes, Nathalle Cloffi (white),
Partner Resources Director, and Paul Pinto (white), Vice President, Partner
Resources, ! was instructed to set up a meeting for the next moming with Trinsey
and place him on suspansian. | was told that there would be an (nvestigation Into
Trinsey's conduct, including allegations of race discrimination that had been made
against him. | objected, stating that Trinsey was not racist, and that | never heard or
observed any race discriminatory comments. or conduct by Trinsey. | explained that
Trinsey had been an-employee of Respondents for approximately fiftaen (15) years,
and that Trinsey volunteers every week at YouthBuild Philly, where he works
primarily with black individuals. Hymes stated that non-white salaried managers at
Trinsey's store had made claims that they were paid lesa than white employees. |
objected, stating that Trinsey had no Input In salary or compensation decisions. 1
explained that Respondents’ process |s io send employees’ resumes to Partner
Resources, and that Partner Rescurces determings the salary for each employee,
Pinto then stated thal, in my conversation with Trinsay, |-was not to make any
reference to pay and equity—that | was only to reference the volume and
serlousness of the allegations against him. | was. Instructed to-tell Trinsey that the
investigation would be expedited as quickly.as possible, that | would be his contact
person during the Investigation, that he should not ba In his stores of have contact
with. his employees, and that { would tell.othar employees that he was taking personal
tlme off. | was told that Brian Dragone (white), District Manager, would cover
Trinsey's stores going forward.

(m) On May 8, 2018, Clofil and | met with Trinsey, and Informed him that Respondents

(n)

(e)

were placing him on suspension, effective immediately. Trinsey was blindsided.

Respondents suspended Trinsey while taking no action against Sykes, who was the
District Manager for 18th and Spruce, Philadetphia location.

On May 8, 2018, ! was called Into a meeting with Hymes, She Informed me that |
would receive a meeting request to mest with her and Pinto the next day, and that |
should come prapared to negotiate what | would went in a separation package. | was
blindsided. Hymes stated that “the situation is not recoverable.” | understocd that
the “situation” to which Hymes was referring was the race-based situation stemming
from the April 12, 2016 Incidant at Respondents’ 18th and Spruce, Philadelphia
location. | told Hymes that my performance has been exceptional, and that 1 racelyed
bonuses In January and April 2018. Hymes agreed.

(p) On May 8, 2018, ! was called into a meeting with Hymes and Pinto. My amployment

was terminated, effective Immediately, | was presented with a separation agreement
and release of all claims. | refused to sign the agreement.

{q) The stated reason for terminating my employment—that “the situation Is not

recovarable"—is code for the efforts by Respondents to discipline white, but not
black, employeas, In an effort to projact to Respondents’ employees and the public
that Respondents do not discriminate against blacks-on the basis of race, as well as
code for Respondenits not tolerating complaints of raca discrimination from managers
when the stated victim Is white. It is further an admission by Respondents that my
termination was @ result of the racially charged and much publicized arrest of two (2)
black Individuels al Respondents’ 18th and Spruce, Philadelphia location.

Respondents provided no explanation, including the selection criteria, as. to why !
was terminated and the black employees were retalned.
Case 1:19-cv-19432-JHS-AMD Document 11 Filed 01/22/20 Page 20 of 23 PagelD: 72

EEOC Charge of Diseriminatlon
Page 2 of 4
Inittals of Charging Party ~

(s) | was terminated because | am white. If | was black, | would not have been
terminated.

(t) Iwas terminated because. complained of and objected to race dlecrimination.

(vu) Respondents did not provide me. with any option to remain employed with
Respondents,

(v) Respondents did not suspend or terminate Sykes.

(w) Linda Johnson (white), Regional Olrector, has taken over my Job dutfes and
tesponsibilities, | am more qualified and expertenced to parform my job dutias and
responsibilities than Johnson.

(x) The-race discrimination and retellation because of my complaints of race
discrimination to which I have been subjected at Respondents hes caused me
emotional distress.

B. 1. Respondents’ Stated Reasons

(a) Respondents’ stated reason for terminating my employment, that the situation
was not recoverable, is an admission of race discrimination and/or retaliation
because of my complaints of race discrimination and/or a statement made
because of my race.

c. 4, Statutes and Bases for Allegations

| belleve that Respondents have discriminated against ma based on my race (white), and
have retaliated against me because of my complaints of race discrimination in violation of
Tite VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 20000 sf seq. (Title
Vil"); the New Jersey Law Against Discrimination, as amended, N.J.S.A, § 10:5-1, et seq.
("NJLAD"); the Pennsyivania Human Relations Act, as amendad, 43 P.S. § 951, af seq.
("PHRA”); and the Philadelphia Fair Practices Ordinance, as amended, Phila, Code § 9-
1100, et seg. (‘PFPO") as set forth herein. Respondents’ discriminatory conduct also
violated 42 U.S.C. § 1981 ("Section 1981").
Case 1:19-cv-19432-JHS-AMD Document11 Filed 01/22/20 Page 21 of 23 PagelD: 73

INFORMATION FOR COMPLAINANTS & ELECTION OPTION
TO DUAL FILE WITH THE

PENNSYLVANIA HUMAN RELATIONS COMMISSION
Shannon Phillips v. Starbucks Corporation; Starbucks Coffee Company

 

EEOC No.
‘You have the right to file this charge of discrimination with the Pennsylvania Human Relations
under the Pennsylvania Human Relations Act. Filing your charge with

ally since there may be circumstances in which state

Commission (PHRC)
uld affect the outcome of your

PHRC protects your state rights, especi:
and federal laws and procedures vary in a manner which wo

case,

Complaints filed with the PHRC must be filed within 180 days of the act(s) which you believe
are unlawful discrimination. If PHRC determines that your PHRC complaint is untimely, it
willbe dismissed.

If you want your charge filed with the PHRC, ine!

with your signature under the verification below,
have chosen EOC to investigate your complaint, so PHRC will not investigate it and, in most

cases, will accept EEOC’s finding. If you disagree with PHRC’s adoption of EEOC’s finding,
you will have the chance to file a request for preliminary hearing with PHRC.

sen to file your charge first with EEOC, making it the primary investigatory
dent will not be required to file an answer with PHRC, and no other action
red by either party, unless/until otherwise notified by PHRC.

one year from filing with PHRC, you have the
f these rights and

tuding this form as part of your EEOC charge,
will constitute filing with the PHRC. You

Since you have cho
agency, the Respon
with PHRC.is requi

If your case is still pending with PHRC after

right to file your complaint in state court, PHRC will inform you o

obligations at that time.

[Sign and date appropriate request below]

| hereby incorporate this form and the verification

with PHRC,
it as my PHRC complaint. I request

_X_ I want my charge filed
C complaint form and file

below inte the attached EEO
BEOC to transmit it to PHRC.
_X__ J understand that false statements in this complaint are made subject to the penalties of
18 Pa. CS. § 4904, relating to u tcation to authorises
fy
TH.

  
 

 

x ACH LL
Signature and
. Ss 2.
do not want my charge dual filed with PHRC = & S
~e a
Nw ae

Signature and Date
Case 1:19-cv-19432-JHS-AMD Document11 Filed 01/22/20 Page 22 of 23 PagelD: 74

EXHIBIT 2
Case 1:19-cv-19432-JHS-AMD Document 11 Filed 01/22/20 Page 23 of 23 PagelD: 75

EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

Shannon Phillips From: Philadelphia District Office
801 Market Street
Woolwich Township, NJ 08085 Suite 1300

Philadetphia, PA 19107

 

 

[] On behalf of person(s) aggrieved whose identity fs
CONFIDENTIAL (29 CFR §1601.7/a))
EEOC Charge No. EEOC Representative Telephone No.
§30-2018-03852 Legal Unit (215) 440-2828

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged In the charge fall to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs fess than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you walted too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its Investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

HO HOUUO

Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you,
You may file a lawsuit against the respondent(s) under federal taw based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your recelpt of this notice: or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA}: EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)

before you file suit may not be collectible.
Cos Mn Commission
7 7/30/2019

 

Enclosures(s) afhie R. Williamson, (Date Mailed)
"Foietrict Director
“ Danielle Mehallo Emily Derstine Friesen, Esq.
Starbucks CONSOLE MATTIACCI
clo Littler Mendolson, GSC 1525 Locust Street, 9th Floor
2301 McGee Street, Sth Floor Philadelphia, NJ 19102

Kansas City, MO 64108
